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                         UNITED STATES DISTRICT COURT
                         NORTHERN DISTRICT OF FLORIDA
                              PENSACOLA DIVISION

ERIC MAJORS, et al.,

       Plaintiffs,

v.                                                         Case No. 3:22cv6534-MCR-HTC

UNITED STATES OF AMERICA, et al.,

     Defendants.
__________________________________/

                                            ORDER

       Plaintiffs 1 have submitted an amended complaint naming the United States of

America and the Internal Revenue Service as Defendants. 2 ECF Doc. 13. Because

Plaintiffs paid the $402 filing fee, they are responsible for serving the amended

complaint so the Defendants may respond to their allegations. Plaintiffs shall serve




1
  The amended complaint indicates Plaintiff Eric Majors is acting pro se on behalf of himself and
Plaintiff Lisa Majors is acting pro se on behalf of herself. The Court advises Plaintiffs that every
document submitted for the Court’s consideration must be signed by each Plaintiff. See Day v.
Wall, 2008 WL 4773054, at *1 (D.R.I. Oct. 30, 2008) (noting Fed. R. Civ. P. 11 requires parties
not represented by an attorney to sign every pleading, written motion, and other paper and “[i]n
the case of multiple pro se plaintiffs, each plaintiff must sign each pleading, written motion and
other paper”).
2
  The amended complaint also identifies Susan Shaw as a Defendant. ECF Doc. 13 at 2. However,
as the Court explained in its May 25, 2022 Order, the United States is the proper Defendant for
Plaintiffs’ tax claims, the IRS is the proper Defendant for Plaintiffs’ FOIA claim, and individual
IRS employees are not subject to suit under Bivens. Accordingly, Susan Shaw will be terminated
as a Defendant along with the other employees of the IRS.
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the amended complaint on the Defendants in the manner prescribed by Rule 4(i) of

the Federal Rules of Civil Procedure.

       Accordingly, it is ORDERED:

       1.     The clerk is directed to add the United States of America as a

Defendant, and terminate Charles Paul Rettig, Susan Shaw, Randall B. Childs, Agent

Neira, and Linda I. Aponte as Defendants.

       2.     The clerk shall issue summons for Defendant United States of America

and Defendant Internal Revenue Service. The clerk shall send the summonses to

Plaintiffs.

       3.     Plaintiffs are responsible for prompt service of the summons and

amended complaint on each Defendant. Within forty-five (45) days from the date

of this Order, Plaintiffs shall serve the amended complaint on the Defendants in the

manner prescribed by Rule 4(i) of the Federal Rules of Civil Procedure. The service

copies of the amended complaint must be identical to the amended complaint filed

with the Court and include all attached exhibits.

       4.     After a notice of appearance has been filed by a Defendant’s attorney,

Plaintiffs shall be required to mail to the attorney a copy of every pleading or other

paper submitted for consideration by the Court. Plaintiffs shall include with any

paper submitted for filing a certificate of service stating the date a correct copy of

the paper was mailed to the Defendants or to the attorney representing the



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Defendants. Any paper submitted for filing that does not contain a certificate of

service shall be returned by the clerk and disregarded by the Court. See Fed. R. Civ.

P. 5; N.D. Fla. Loc. R. 5.1(F).

      DONE AND ORDERED this 27th day of July, 2022.

                                  /s/ Hope Thai Cannon
                                  HOPE THAI CANNON
                                  UNITED STATES MAGISTRATE JUDGE




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